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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                  AT LOUISVILLE


UNITED STATES OF AMERICA                                                            PLAINTIFF

V.                                                       CRIMINAL ACTION NO.3:07CR-82-R


NATHAN FRISBIE                                                                   DEFENDANT



                           ACCEPTANCE OF PLEA OF GUILTY,
                            ADJUDICATION OF GUILT, AND
                               NOTICE OF SENTENCING


       Pursuant to the Report and Recommendation of Magistrate Judge Dave Whalin, the
pleas of guilty by the Defendant as to Counts 1 through 3 in the Indictment is hereby accepted,
and the Defendant is adjudged guilty of such offenses.
       Sentencing is hereby scheduled for February 20, 2008 at 12:00 p.m., before the
Honorable Thomas B. Russell, Judge United States District Court.


      November 14, 2007




Copies to: U.S. Attorney
           U.S. Marshal
           U.S. Probation
           Counsel of Record
